     CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 1 of 19




                UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA
                        Case No.___________
_______________________________________________________________

JUSTIN FRETTE,

                    Plaintiff,
                                                   COMPLAINT
v.

SANTANDER CONSUMER USA,
AWR ENTERPRISES, INC.,
AND WILLIAM E. DECKER, INDIVUDALLY,

                 Defendants.
_______________________________________________________________

                                 JURISDICTION

1.   Jurisdiction of this Court arises under 28 U.S.C. § 1331, 15 U.S.C. §

     1692k(d) and for pendant state law claims pursuant to 28 U.S.C.

     §1367.

2.   This action arises out of Defendants’ Santander Consumer USA, AWR

     enterprises Inc., and William E. Decker’s, violations of the Fair Debt

     Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and

     pursuant state law claims including Minn. Stat. § 336.9-609 and

     Invasion of Privacy.
     CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 2 of 19




3.   Venue is proper in this District because the acts and transactions

     occurred in this District, Plaintiff resides in this District, and

     Defendants transact business in this District.

                                 PARTIES

4.   Justin Frette (hereinafter “Plaintiff”) is a natural person residing in the

     County of Hubbard, State of Minnesota, and is a “consumer” as that

     term is defined by 15 U.S.C. § 1692a(3).

5.   Defendant    Santander    Consumer      USA      (hereinafter   “Defendant

     Santander”) is a “debt collector,” for the purpose of 15 U.S.C. §

     1692f(6) because it uses any instrumentality of interstate commerce or

     the mails in any business the principal purpose of which is the

     enforcement of security interests. 15 U.S.C. § 1692a(6). Defendant

     operates from an address of P.O. Box 961245, Fort Worth, TX 76161-

     1245 and has a registered agent for service of CT Corporation System

     Inc., 1010 Dale St N, St. Paul, MN 55117.

6.   Defendant AWR enterprises Inc. (hereinafter “Defendant AWR”), is a

     “debt collector,” for the purpose of 15 U.S.C. § 1692f(6) because it

     uses any instrumentality of interstate commerce or the mails in any

     business the principal purpose of which is the enforcement of security




                                      2
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 3 of 19




      interests. 15 U.S.C. § 1692a(6). Defendant operates from an address of

      11821 63rd St NE, Albertville, MN 55301.

7.    Defendant William Earl Decker (hereinafter “Defendant Decker”) is a

      “debt collector,” for the purpose of 15 U.S.C. § 1692f(6) because he

      uses any instrumentality of interstate commerce or the mails in any

      business the principal purpose of which is the enforcement of security

      interests. 15 U.S.C. § 1692a(6). Defendant Decker is an employee of

      Defendant AWR.

                         FACTUAL SUMMARY

8.    On February 26, 2018, Plaintiff incurred a debt with Defendant

      Santander. The debt was primarily for personal, family, or household

      purposes, and is therefore a “debt” as that term is defined by 15 U.S.C.

      § 1692a(5). Specifically, the debt was an auto loan for a 2016

      Chevrolet Silverado 1500, secured by Plaintiff’s home.

9.    Plaintiff entered into a Retail Installment Contract and Security

      Agreement with Defendant Santander on February 26, 2018.

10.   Pursuant to the executed Agreement, page 2, paragraph 10,

            “May immediately take possession of the Property by legal
            process or self-help, but in doing so we may not breach the
            peace or unlawfully enter onto your premises.”




                                      3
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 4 of 19




11.   Plaintiff failed to make all the payments on time to Defendant

      Santander and therefore Plaintiff was in default prior to March 12,

      2021.

12.   Sometime before May 12, 2021, Defendant Santander hired Defendant

      AWR to self-help repossess Plaintiff’s vehicle.

13.   On May 12, 2021, at approximately 4:30 p.m., Defendant Decker, in

      an attempt to repossess Plaintiff’s vehicle, entered Plaintiff’s residence

      without permission.

14.   By entering Plaintiff’s residence without permission, Defendant

      Decker violated the February 26, 2018 Agreement by breaching the

      peace.

15.   Plaintiff was eating dinner with his family when he heard footsteps and

      then banging on the wall that separates the kitchen from the staircase.

      Plaintiff heard a man say, “hello?” Plaintiff’s fiancé went towards the

      voice and asked, “who is it?” Plaintiff’s fiancé then heard Defendant

      Decker state that he was looking for Justin, and that he was there for

      the truck.

16.   Plaintiff saw his children in fear as they were scared that someone had

      come inside of their home without their prior knowledge or




                                       4
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 5 of 19




      permission. He told the children, ages 5, 8, and 10, to go to their rooms

      and close their bedroom doors for safety concerns.

17.   Plaintiff told his fiancé to go and protect their small children. He was

      scared and confused as to who Defendant Decker was and why he had

      just entered Plaintiff’s home without permission.

18.   Plaintiff asked Defendant Decker why he was inside of his home,

      Defendant Decker stated that he thought it was an apartment. Plaintiff

      explained that it was not an apartment and that he had just trespassed

      into a single-family dwelling.

19.   Plaintiff repeatedly instructed Defendant Decker to exit his home,

      reminding Defendant Decker that he was trespassing.

20.   Despite Plaintiff’s demands that Defendant Decker exit Plaintiff’s

      home, Defendant Decker would not voluntarily leave Plaintiff’s house

      thus constituting trespass and breach of peace.

21.   Plaintiff then began getting “boisterous” to get Defendant Decker to

      leave his residence, repeating himself at least 5-10 different times, each

      time increasing the tone, tenor and volume of his demand.

22.   Defendant Decker stated that he was there for Plaintiff’s pickup truck.

      Plaintiff advised Defendant Decker that he was in breach of contract




                                       5
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 6 of 19




      by trespassing into his residence and informed Defendant Decker that

      he would not give up the truck voluntarily.

23.   Plaintiff asked Defendant Decker to identify himself, but he would

      only state his name was “Bill,” Defendant Decker refused to reveal his

      last name and failed to disclose the company he was working for.

24.   Defendant Decker not only trespassed into Plaintiff’s home, but he also

      entered Plaintiff’s home without a mask on during a pandemic, despite

      the Minnesota Governor’s Mask Mandate pursuant to Executive Order

      20-81, again in breach of the peace.

25.   Plaintiff was fearful that he and his family were at great risk of

      contracting COVID-19 due to Defendant Decker’s reckless and

      deliberate disregard for the Governor’s Executive Order.

26.   Once Plaintiff got Defendant Decker out of his residence, Defendant

      Decker continued to express to Plaintiff that he was there to pick up

      Plaintiff’s 2016 Chevrolet Silverado half ton pickup truck.

27.   Plaintiff also advised Defendant Decker that he was calling the police

      due to him breaking the law by trespassing and breaching the peace.

28.   Defendant Decker agreed with Plaintiff that he should call the police

      due to his actions. At that time, Defendant Decker advised Plaintiff

      that he would not take his truck.


                                      6
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 7 of 19




29.   In the wake of Plaintiff’s call, Officer A. Rittgers of the Park Rapids

      Police Department, arrived on the scene at 4:48 p.m.

30.   Defendant Decker apologized to Plaintiff at this time. Defendant

      Decker still seemed to be confused that Plaintiff’s home was not an

      apartment building. Both Officer Rittgers and Plaintiff explained again

      that Plaintiff’s home was a residence with a house number and not an

      apartment.

31.   Defendant Decker then stated that the company who sent him,

      Defendant AWR, had the wrong information written down for

      Plaintiff’s address. Defendant Decker’s explanation did not explain

      why he trespassed into Plaintiff’s home to repossess a vehicle.

32.   Plaintiff expressed to Defendant Decker that he and his company,

      Defendant AWR, should do a better job of making sure they have the

      correct address before going to repossess someone’s belongings.

      Defendant Decker agreed and everyone left the scene. Before leaving

      Defendant Decker stated that he called his company, Defendant AWR,

      and advised them of his wrongdoings and let Plaintiff know once more

      that they were not going to repossess his truck at that time.

33.   Since this event, Plaintiff has had nightmares and many restless nights

      of sleep. Plaintiff is worried that someone else is going to try and break


                                       7
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 8 of 19




      into his residence as a result from this incident, he fears for his safety

      and for the safety of his family. Plaintiff is fearful of answering the

      door whenever someone knocks.

34.   Additionally, Plaintiff is left with the embarrassment of explaining to

      his children what happened that day. Plaintiff’s children express to

      Plaintiff how they fear people entering their home, and how they are

      “scared that someone is going to get them.”

35.   Plaintiff’s wife is worried for the health and safety of herself as well as

      her children. Plaintiff’s family has lost their sense of security in a place

      that they used to feel safest, they are worried that they will never feel

      safe in their home again.

36.   Defendants Decker and AWR’s unlawful conduct negatively affects

      the entire family. They stole safety and security. Not to mention that

      Defendant Decker put Plaintiff’s family in danger by choosing not to

      wear a mask while trespassing into Plaintiff’s private residence.

37.   By breaching the peace during a self-help repossession, Defendant

      Decker violated Minn. Stat. § 336.9-609.

38.   By violating Minn. Stat. § 336.9-609 during a repossession, Defendant

      Decker unlawfully attempted repossession, in violation of 15 U.S.C. §

      1692f(6).


                                        8
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 9 of 19




39.   Defendants’ conduct in illegally entering Plaintiff’s residence was

      trespass and in violation of 15 U.S.C. §1692f(6).

40.   Defendants’ illegal conduct was intentional and in deliberate disregard

      for Plaintiff’s rights under state and federal law.

                                 DAMAGES

41.   Defendants infringed upon Plaintiff’s rights proscribed by Congress to

      not be subject to abusive, illegal, and unfair debt collection practices.

42.   Defendants caused Plaintiff to expend time and resources to hire an

      attorney to defend himself and vindicate his rights.

43.   Defendants caused Plaintiff emotional distress due to unlawfully

      trespassing into his home and the fact that his fiancé and his three (3)

      minor children were home at the time of the incident, and he feared for

      his and their health and safety.

                RESPONDEAT SUPERIOR LIABILITY

44.   The acts and omissions of Defendant Decker, Defendant AWR, and

      any other debt collectors employed as agents by Defendant Santander

      who communicated with Plaintiff- further described herein- were

      committed within the time and space limits of their agency relationship

      with their principal, Defendant Santander.




                                         9
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 10 of 19




45.   The acts and omissions by Defendant Decker, Defendant AWR, and

      any other debt collectors were incidental to, or of the same general

      nature as, the responsibilities these agents were authorized to perform

      by Defendant Santander in collecting consumer debts.

46.   By committing these acts and omissions against Plaintiff, Defendant

      Decker and any other debt collectors were motivated to benefit their

      principal, Defendant Santander.

47.   Defendant Santander, is therefore liable to Plaintiff through the

      Doctrine of Respondeat Superior for the intentional and negligent acts,

      errors, and omissions done in violation of state or federal law by its

      collection employees, including Defendant Decker and Defendant

      AWR.

                                 STANDING

48.   Standing is proper under Article III of the Constitution of the United

      States of America because Plaintiff’s claims state:

             a. a valid injury in fact;

             b. which is traceable to the conduct of Defendants;

             c. and is likely to be redressed by a favorable judicial decision.

      See TransUnion L.L.C. v. Ramirez, 2021 WL 2599472 (U.S. June 25, 2021),

      Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), and Lujan v.


                                          10
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 11 of 19




      Defenders of Wildlife, 504 U.S. 555, 560 (1992).

49.   In order to meet the standard laid out in Ramirez, Spokeo and Lujan,

      Plaintiff must clearly allege facts demonstrating all three prongs above.

                          The “Injury in Fact” Prong

50.   Plaintiff’s injury in fact must be both “concrete” and “particularized”

      in order to satisfy the requirements of Article III of the Constitution, as

      laid out in Spokeo. Id.

51.   For an injury to be “concrete” it must fall into one or more of three

      recognized categories of injuries: (1) physical or monetary injury; (2)

      reputational harms, disclosure of private information, intrusion upon

      seclusion; (3) or infringement of constitutional rights. TransUnion L.L.C. v.

      Ramirez, 2021 WL 2599472 (U.S. June 25, 2021). In the present case,

      Defendants unlawful conduct negatively affects the Plaintiff and his

      entire family. Defendant Decker put Plaintiff’s family in danger by

      choosing not to wear a mask while trespassing into Plaintiff’s private

      residence.

52.   In addition, by breaching the peace during a self-help repossession,

      Defendant Decker violated Minn. Stat. § 336.9-609.




                                       11
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 12 of 19




53.   By violating Minn. Stat. § 336.9-609 during a repossession, Defendant

      Decker unlawfully attempted repossession, in violation of 15 U.S.C. §

      1692f(6).

54.   Defendants’ conduct in illegally entering Plaintiff’s residence was

      trespass and in violation of 15 U.S.C. §1692f(6).

55.   Defendants’ illegal conduct was intentional and in deliberate disregard

      for Plaintiff’s rights under state and federal law, which falls into an

      established category, and is thus a concrete injury.

56.   For an injury to be “particularized” means that the injury must “affect the

      plaintiff in a personal and individual way.” Spokeo, 136 S. Ct. at 1548. In

      the instant case, Plaintiff personally as well as Plaintiff’s family, causing

      monetary damages and emotional distress.

            The “Traceable to the Conduct of Defendant” Prong

57.   The second prong required to establish standing at the pleadings phase

      is that Plaintiff must allege facts to show that Plaintiff’s injury is

      traceable to the conduct of Defendants.

58.   In the instant case, this prong is met simply by the facts that the

      violative conduct contemplated in this Complaint was initiated by

      Defendants directly, or by Defendants’ agent at the direction of

      Defendants.


                                         12
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 13 of 19




  The “Injury is Likely to be Redressed by a Favorable Judicial Opinion”

                                          Prong

59.   The third prong to establish standing at the pleadings phase requires

      Plaintiff to allege facts to show that the injury is likely to be redressed

      by a favorable judicial opinion.

60.   In the present case, Plaintiff’s Prayers for Relief include a request for

      statutory and actual damages. The damages were set by Congress and

      specifically redress the financial damages suffered by Plaintiff.

61.   Furthermore, the award of monetary damages redress the injuries of

      the past, and prevent further injury by Defendants in the future.

62.   Because all standing requirements of Article III of the U.S.

      Constitution have been met, as laid out in Spokeo, Inc. v. Robins, 136

      S. Ct. 1540 (2016), Plaintiff has standing to sue Defendants on the

      stated claims.

                              TRIAL BY JURY

63.   Plaintiff is entitled to and hereby respectfully demands a trial by jury.

      U.S. Const. amend. 7. Fed.R.Civ.P. 38.




                                         13
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 14 of 19




                          CAUSES OF ACTION

                                COUNT I.

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                          15 U.S.C. § 1692 et seq.

                   DEFENDANTS AWR AND DECKER

64.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

65.   The foregoing acts and omissions of Defendant AWR and Defendant

      Decker constitute numerous and multiple violations of the FDCPA

      including, but not limited to, each and every one of the above-cited

      provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with respect to

      Plaintiff.

66.   Specifically, by trespassing and breaching the peace during

      repossession, Defendants engaged in unlawful repossession, in

      violation of 15 U.S.C. § 1692f(6).

67.   As a result of Defendants’ violations of the FDCPA, Plaintiff is

      entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

      statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C.

      § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to

      15 U.S.C. § 1692k(a)(3), from Defendant AWR and Decker.


                                     14
     CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 15 of 19




                                COUNT II.

 VIOLATION OF MINN. STAT. § 336.9-609 - BREACH OF PEACE

                          ALL DEFENDANTS

68. Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

69. Minnesota statute provides that “[a]fter default, a secured party may

     take possession of the collateral. . . . A secured party may proceed . . .

     without judicial process, if it proceeds without breach of the peace.”

     Minn. Stat. § 336.9–609(a)(1), (b)(2).

70. Minnesota courts have adopted the following definition of “breach of

      the peace”: “[a] violation of the public order, a disturbance of public

      tranquility, by an act or conduct inciting to violence or tending to

      provoke or excite others to breach the peace [including] any violation

      of any law enacted to preserve peace and good order.” Bloomquist v.

      First Nat'l Bank of Elk River, 378 N.W.2d 81, 85 (Minn. Ct. App.

      1986) (quotations omitted). See also Nichols v. Metropolitan Bank,

      435 N.W.2d 637, 639 (Minn. Ct. App. 1989) (“A secured party must

      ensure there is no risk of harm to the debtor and others if the secured

      party chooses to repossess collateral by self-help methods.”).




                                     15
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 16 of 19




71.   “Neither violence nor threat of violence need occur before a breach of

      the peace may be found. Rather, ‘the probability of violence at the

      time of or immediately prior to the repossession is sufficient.’” Saice

      v. MidAmerica Bank, No. CIV.98-2396 (DSD/JMM), 1999 WL

      33911356, at *2 (D. Minn. Sept. 30, 1999) (cleaned up) (citations

      omitted).

72.   The self-help repossession by Defendant Decker breached the peace by

      entering Plaintiff’s home without permission and therefore trespassing

      on Plaintiff’s private property, as well as continued to trespass, by

      failing to leave residence when asked. These actions “disturb[ed]

      public tranquility” and “tend[ ] to incite violence” and thus constitute

      a breach of the peace.

73.   Defendants are liable for damages to the Plaintiff for actual damages

      and for emotional distress and statutory damages provided by Minn.

      Stat. § 336.9-625.


                                  COUNT III

                             INVASION OF PRIVACY

                              ALL DEFENDANTS

74.   Plaintiff incorporates by reference all preceding paragraphs as though

      fully stated herein.
                                     16
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 17 of 19




75.   Defendants intentionally intruded upon Plaintiff’s solitude, seclusion,

      and private concerns and affairs during the attempted self-help

      repossession of the vehicle on May 12, 2021.

76.   Defendants’ intrusion was substantial, highly offensive to Plaintiff, and

      would be highly offensive and objectionable to any reasonable person

      in Plaintiff’s position.

77.   Plaintiff had a legitimate expectation of privacy in his solitude,

      seclusion, and private concerns and affairs.

78.   As a result of Defendants’ intrusion, Plaintiff has suffered emotional

      distress, and is entitled to an award of actual damages in an amount to

      be determined at trial.

                                 PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

         • Ordering Defendants to cease collection activities against

         Plaintiff;

         • For an award of actual damages pursuant to 15 U.S.C. §

         1692k(a)(1);

         • For an award of statutory damages of $1,000.00 pursuant to 15
         U.S.C. §1692k(a)(2)(A) against each and every Defendant;

         • For an award of costs of litigation and reasonable attorney’s fees
         pursuant to 15 U.S.C. § 1692k(a)(3);

                                       17
     CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 18 of 19




        • an award of actual damages according to Minn. Stat. §336.9-625
        for the breach of peace;

        • an award of statutory damages of $3,300.00 for each violation
        under Minn. Stat. §336.9-625;

        • For such other and further relief as may be just and proper.



                                    Respectfully submitted,
Dated: September 10, 2021

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                                    18
      CASE 0:21-cv-02009-ECT-LIB Doc. 1 Filed 09/10/21 Page 19 of 19




           DECLARATION OF COMPLAINT AND CERTIFICATION
                          BY PLAINTIFF


      I, Justin Frette, declare under penalty of perjury, as provided for by the laws
of the United States, 28 U.S.C. § 1746, that the following statements are true and
correct:
   1. I am the Plaintiff in this civil proceeding.

   2. I have read the above-entitled civil Complaint prepared by my attorneys and I

      believe that all the facts contained in it are true, to the best of my knowledge,

      information, and belief, formed after reasonable inquiry.

   3. I believe that this civil Complaint is well grounded in fact and warranted by

      existing law or by a good faith argument for the extension, modification, or

      reversal of existing law.

   4. I believe that this civil Complaint is not interposed for any improper purpose,

      such as to harass Defendants, cause unnecessary delay to Defendants, or

      create a needless increase in the cost of litigation to Defendants named in the

      Complaint.

   5. I have filed this civil Complaint in good faith and solely for the purposes set

      forth in it.



           09/10/2021
Dated: _____________________
                                              Justin Frette

                                        19
